579 F.2d 43
    17 Fair Empl.Prac.Cas.  1246, 17 Empl. Prac.Dec. P 8494Mr. Andrew WOODS, Appellant,v.SAFEWAY STORES, INC., Appellee.SAFEWAY STORES, INC., Appellant,v.Mr. Andrew WOODS, Appellee.
    Nos. 76-2234, 76-2235.
    United States Court of Appeals,Fourth Circuit.
    Argued June 9, 1978.Decided July 24, 1978.
    
      Robert B. Fitzpatrick for Andrew Woods.
      James Patrick McElligott, Jr., Richmond, Va.  (William H. King, Sr., John M. Oakey, Jr., McGuire, Woods &amp; Battle, Richmond, Va., on brief), for Safeway Stores, Inc.
      Before WINTER and WIDENER, Circuit Judges, and THOMSEN,* Senior District Judge.
      PER CURIAM:
    
    
      1
      In No. 76-2234, plaintiff below appeals from a judgment in favor of his former employer, Safeway Stores, Inc., rendered by the district court after a full trial on the merits of an action brought by plaintiff under Title VII of the Civil Rights Act of 1964, as amended.  We affirm the judgment for the reasons fully and carefully stated by the district judge in discussing the merits of plaintiff's case.  Woods v. Safeway Stores, Inc., 420 F.Supp. 35 (E.D.Va.1976).
    
    
      2
      This decision makes it unnecessary to reach the question of the timeliness of plaintiff's filing of his charge with the Equal Employment Opportunity Commission (EEOC), which the district judge decided in favor of plaintiff.  Defendant's appeal, No. 76-2235, is therefore dismissed.1
    
    
      3
      No. 76-2234 Affirmed.
    
    
      4
      No. 76-2235 Dismissed.
    
    
      
        *
         Senior District Judge for the District of Maryland, sitting by designation
      
      
        1
         Plaintiff's motion for leave to file the affidavit of the Director of the Washington, D.C. office of EEOC has been granted
      
    
    